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Fill in this information to identify the case:

                    BBC Group NV, LLC
Debtor Name __________________________________________________________________

                                                                            NV
United States Bankruptcy Court for the:_______________________ District of ________
                                                                       (State)

                 22-11538
Case number: _________________________




Official Form 426
Periodic Report Regarding Value, Operations, and Profitability of Entities
in Which the Deb     Estate Holds a Substantial or Controlling Interest
                                                                                                                                              12/17


           This is the Periodic Report as of __________
                                             6/30/2022 on the value, operations, and profitability of those entities in which a
           Deb o hold , o      o o mo e Deb o collec i el hold, a b an ial o con olling in e e (a Con olled Non-Debtor
           En i ), a e i ed b Bank p c R le 2015.3. Fo p po e of hi fo m, Deb o hall incl de he e a e of ch
           Debtor.
            [Name of Debtor] holds a substantial or controlling interest in the following entities:
             Name of Controlled Non-Debtor Entity                                             Interest of the Debtor             Tab #

               BBC Group NVII, LLC                                                            Member, 100% ownership




           This Periodic Report contains separate reports (Entity Reports) on the value, operations, and profitability of each
           Controlled Non-Debtor Entity.

           Each Entity Report consists of five exhibits.
              Exhibit A contains the most recently available: balance sheet, statement of income (loss), statement of cash flows,
              and a a emen of change in ha eholde o pa ne e i (deficit) for the period covered by the Entity Report,
              along with summarized footnotes.
              Exhibit B describes the Controlled Non-Deb o En i                  b ine     ope a ion .

              Exhibit C describes claims between the Controlled Non-Debtor Entity and any other Controlled Non-Debtor Entity.

              Exhibit D describes how federal, state or local taxes, and any tax attributes, refunds, or other benefits, have been
              allocated between or among the Controlled Non-Debtor Entity and any Debtor or any other Controlled Non-Debtor
              Entity and includes a copy of each tax sharing or tax allocation agreement to which the Controlled Non-Debtor
              Entity is a party with any other Controlled Non-Debtor Entity.

              Exhibit E describes any payment, by the Controlled Non-Debtor Entity, of any claims, administrative expenses or
              professional fees that have been or could be asserted against any Debtor, or the incurrence of any obligation to make
                ch pa men , oge he i h he ea on fo he en i             pa men he eof o inc ence of an obliga ion i h
              respect thereto.

           This Periodic Report must be signed by a representative of the trustee or debtor in possession.




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Debtor Name
                    BBC Group NV, LLC
              _______________________________________________________
                                                                                                             22-11538
                                                                                            Case number_____________________________________




           The undersigned, having reviewed the Entity Reports for each Controlled Non-Deb            E i , a d bei g familia i h he Deb
           financial affairs, verifies under the penalty of perjury that to the best of his or her knowledge, (i) this Periodic Report and the
           attached Entity Reports are complete, accurate, and truthful to the best of his or her knowledge, and (ii) the Debtor did not cause
           the creation of any entity with actual deliberate intent to evade the requirements of Bankruptcy Rule 2015.3

           For non-individual
           Debtors:                         _____________________________________________
                                            Signature of Authorized Individual

                                            _____________________________________________
                                              Jacob Tchamanian
                                            Printed name of Authorized Individual
                                                 7/11/2022
                                            Date _______________
                                                   MM / DD      / YYYY

           For individual Debtors:
                                            ___________________________________________               ____________________________________________
                                            Signature of Debtor 1                                     Signature of Debtor 2

                                            _______________________________________                   ____________________________________________
                                            Printed name of Debtor 1                                  Printed name of Debtor 2

                                            Date _______________                                      Date _______________
                                                   MM / DD      / YYYY                                       MM / DD       / YYYY




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Debtor Name
                    BBC Group NV, LLC
               _______________________________________________________
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                                                       BBC Group NV II, LLC
              Exhibit A: Financial Statements for [Name of Controlled Non-Debtor Entity]




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                    BBC Group NV, LLC
               _______________________________________________________
                                                                                                           22-11538
                                                                                           Case number_____________________________________




                                                 BBC Group NV II, LLC                              June 30th 2022
              Exhibit A-1: Balance Sheet for [Name of Controlled Non-Debtor Entity] as of [date]



          [Provide a balance sheet dated as of the end of the most recent 3-month period of the current fiscal year and as of the
          end of the preceding fiscal year.

          Describe the source of this information.]




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                    BBC Group NV, LLC
                _______________________________________________________
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                                                                    BBC Group NV II, LLC                                         June 30th 2022
              Exhibit A-2: Statement of Income (Loss) for [Name of Controlled Non-Debtor Entity] for period ending [date]


              [Provide a statement of income (loss) for the following periods:

               (i) For the initial report:

                  a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of
                     the current fiscal year; and

                  b. the prior fiscal year.

              (ii) For subsequent reports, since the closing date of the last report.

              Describe the source of this information.]




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Debtor Name
                    BBC Group NV, LLC
                _______________________________________________________
                                                                                                              22-11538
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                                                         BBC
              Exhibit A-3: Statement of Cash Flows for [Name    Group NV
                                                             of Controlled    II, LLC
                                                                           Non-Debtor Entity] for period ending [date]


              [Provide a statement of changes in cash position for the following periods:

               (i) For the initial report:

                    a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of
          The thebusiness           hasandbeen operating at a negative cash flow.
                   current fiscal year;
         All deficits            have been injected with owner’s personal funds
             b. the prior fiscal year.

              (ii) For subsequent reports, since the closing date of the last report.

              Describe the source of this information.]




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                    BBC Group NV, LLC
               _______________________________________________________
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              Exhibit A-4: S a e e           f Cha ge      Sha eh     de    /Pa    e     E       (Deficit ) for [Name
                                                                                                  BBC Group        NV of
                                                                                                                      II,   LLC Non-Debtor Entity]
                                                                                                                         Controlled
              for period ending [date
                                 2021]

              [Pro ide a statement of changes in shareholders /partners equit (deficit) for the following periods:

               (i) For the initial report:

                    a. the period between the end of the preceding fiscal year and the end of the most recent 3-month period of
          No Changes         in year;
              the current fiscal  Partner’s
                                      and   Equity during the period since the
          end of 2020
                    b. the prior fiscal year.

              (ii) For subsequent reports, since the closing date of the last report.

               Describe the source of this information.]




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Debtor Name
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                                                                                                            22-11538
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              Exhibit B: Description of Operations for [Name of Controlled Non-Debtor Entity]


              [Describe the nature and e tent of the Debtor s interest in the Controlled Non-Debtor Entity.

              Describe the business conducted and intended to be conducted by the Controlled Non-Debtor Entity, focusing on the
              entit s dominant business segments.

          Debtor
           Describe theis  100%
                       source          equity owner of BBC Group NV II, LLC. BBC
                              of this information.]
          Group NV II, LLC operates fast casual restaurants.




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                _______________________________________________________
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              Exhibit C: Description of Intercompany Claims


              [List and describe the Controlled Non-Debtor Entit s claims against an other Controlled Non-Debtor Entity, together with
              the basis for such claims and whether each claim is contingent, unliquidated or disputed.

              Describe the source of this information.]


          No intercompany claims exist.
                - NONE -




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                _______________________________________________________
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              Exhibit D: Allocation of Tax Liabilities and Assets


              [Describe how income, losses, tax payments, tax refunds, or other tax attributes relating to federal, state, or local taxes
              have been allocated between or among the Controlled Non-Debtor Entity and one or more other Controlled Non-Debtor
              The controlled entity, BBC Group NVII, LLC (“NVII”) pays
              Entities.
              - The entities have been in
              responsibility           fora loss since the inception.
                                               payroll       taxes All losses
                                                                      and     have been
                                                                           sales        allocated
                                                                                     tax.    NVII to the parent
                                                                                                       did      company.
                                                                                                             receive
              Include a copy of each tax sharing or tax allocation agreement to which the entity is a party with any other Controlled
              some tax credits in the form of the Employee Retention Tax
              Non-Debtor Entity.
              Credit “ERTC” which last received in November. These tax credits
              were the
              Describe used
                         sourcefor     payroll
                                    obligations.
                               of this information.]


              Debtor as the parent company reports the profit or loss and the
              associated income tax obligations.

              No written tax allocation agreement exists as between the two
              entities.




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                _______________________________________________________
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              Exhibit E: Description of Controlled Non-Deb            E          a     e      f Ad          a   eE     e   e , or Professional Fees
              otherwise payable by a Debtor


              [Describe any payment made, or obligations incurred (or claims purchased), by the Controlled Non-Debtor Entity in
              connection with any claims, administrative expenses, or professional fees that have been or could be asserted against
              any Debtor.

              Describe the source of this information.]



       No payments of administrative expenses or professional fees are
       paid by the controlled entity, BBC Group NVII, LLC which would
       otherwise be payable by the Debtor.




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